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From:            Mooppan, Hashim (OSG)
To:              AlanSchoenfeld
Cc:              Sofer, Gregg (OAG); Grieco, Christopher (ODAG); Wall, Jeffrey B. (OSG); Michel, Christopher (OSG)
Subject:         Courtesy notice
Date:            Thursday, July 16, 2020 2:03:40 AM
Attachments:     Purkey Notice 7 16 2020 2.pdf
                 Purkey Letter 5.pdf



EXTERNAL SENDER

Alan,

 Per our prior discussion, this is to notify you, as a courtesy, that the govt has notified Mr. Purkey,
pursuant to the applicable regulatory provisions, of the re-designation of his execution for today, July
16, 2020. The designated time is 4:30 am.

 Also, one of your colleagues called to inform me that a 2241 petn has been filed in SD Ind., along
with an accompanying stay application. Your colleague asked whether the govt would delay the
execution to allow the judge in SD Ind. to consider the stay application. In light of the Supreme
Court’s orders today and on Tuesday morning, the government will not delay the execution further.
Absent a court order barring the execution, the govt intends to proceed.

Best,

Hashim Mooppan
Counselor to the Solicitor General
